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                       EXHIBIT A
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WRONA LAW
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Facsimile: (435) 649-5959
hanna@wgdlawfirm.com
Attorneys for Plaintiffs


                       IN THE THIRD JUDICIAL DISTRICT COURT

                    OF SUMMIT COUNTY, STATE OF UTAH
______________________________________________________________________________

 LINDE NEMCICK and WILLIAM
 COTTE, Individuals,
                                                                  COMPLAINT
                Plaintiffs,
 v.                                                            RULE 26(c)(3) Tier 3

 MARRIOTT INTERNATIONAL, INC.                                  JURY DEMANDED
 and DOES 1–5,
                                                                     Civil No.
                Defendants.
                                                                       Judge



       Plaintiffs Linde Nemcick and William Cotte (“plaintiffs”), by and through their counsel of

record, Bret M. Hanna, Wrona Law, for their causes of action against defendants, allege as follows:

                                                PARTIES

       1.      Plaintiffs are individuals residing in Allentown, New Jersey.
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         2.      Defendant Marriott International, Inc., on information and belief, has its principal

 place of business in Bethesda, Maryland, and on information and belief, is doing business in the

 State of Utah as The St. Regis Deer Valley located in Park City, Utah.


         3.      Defendant Does 1–5, upon information and belief, are corporations, limited

 liability companies, or dbas involved in the ownership and/or operation of The St. Regis Deer

 Valley located in Park City, Utah.

                                   JURISDICTION, VENUE AND TIER

         4.      This Court has jurisdiction of this action pursuant to Utah Code Ann. §78A-5-

 102, in that the amount in controversy exceeds the sum of $20,000, exclusive of court costs.

         5.      Venue is proper in this Court pursuant to Utah Code Ann. §78B-3-307, in that the

 cause of action arose in this district.

         6.      This action for damages is brought pursuant to Tier 3, Rule 26(c)(3), Utah Rules

 of Civil Procedure.

                                           GENERAL ALLEGATIONS

         7.      At approximately 2:30 p.m. on February 24, 2019, plaintiffs were walking on a

 paved, snow-covered walkway adjacent to an outdoor patio area on the property of The St. Regis

 Deer Valley.

         8.      As plaintiff Linde Nemcick approached a “pedestal floor-style” sign stand

 offering a Moet & Chandon Champagne photo opportunity, she unknowingly stepped on the

 slick, smooth floor plate of the stand and fell, sustaining serious injuries.

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         9.     The polished floor plate that plaintiff Linde Nemcick stepped on was buried in

 wet, melting snow and was not visible to anyone walking in the area.

         10.    As a direct and proximate result of her fall, plaintiff Linde Nemcick sustained a

 fractured left tibia (three places), two fractured left-foot metatarsals, nerve damage in the form of

 the development of a Morton Neuroma in her left foot, two meniscus tears in her left knee, a

 cracked wisdom tooth, a chipped front tooth, and she continues to have a very weak and painful

 left ankle.

         11.    Plaintiffs had to stay in Utah for nine days following plaintiff Linde Nemcick’s

 fall because it took that long for her to stabilize to the point she could travel home.

         12.    Plaintiffs have incurred significant medical bills and related bills as a result of the

 injuries plaintiff Linde Nemcick sustained in her fall at defendant’s property.

         13.    Plaintiff Linde Nemcick also incurred wage losses because of her lack of

 mobility.

                                       FIRST CAUSE OF ACTION

                                       (Negligence – All Defendants)

         14.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

         15.    Defendants owed duties to plaintiff Linde Nemcick and others to properly

 maintain its walkways and displays in such a way that they did not create a hazard to business

 invitees.




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        16.     Defendants breached their duties owed to plaintiffs by, inter alia, failing to

 maintain walkways and displays in a non-hazardous condition and for failing to properly warn

 approaching pedestrians of fall hazards, and failing to promptly take action to remediate said

 hazards.

        17.     As a direct and proximate result of the negligent breach of its duties owed to

 plaintiff Linde Nemcick, defendants caused plaintiff Linde Nemcick to suffer serious injuries

 and losses as described above.

        18.     Plaintiffs’ damages include, but are not limited to, special damages for past and

 future medical care relating to the serious injuries plaintiff and wage losses sustained by plaintiff

 Linde Nemcick, as well general damages arising from those injuries.

                                     SECOND CAUSE OF ACTION

                                  (Loss of Consortium – All Defendants)

        19.     Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

        20.     At all times mentioned herein, plaintiff William Cotte was the lawful spouse of

 plaintiff Linde Nemcick.

        21.     As a direct result of the negligence and other conduct of defendants and the

 resulting injuries to plaintiff Linde Nemcick, plaintiff William Cotte has been deprived of the

 services of his wife by reason of her inability to carry out her usual duties and functions as a

 dutiful and loving spouse.




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          22.      Plaintiffs have suffered a loss of consortium within the meaning of Utah Code

 Ann. § 30-2-11 as a result of the injuries and losses alleged here, and are entitled to recovery of

 damages for loss of consortium as a proximate result of the negligence of defendants as set forth

 above.

                                            PRAYER FOR RELIEF

          WHEREFORE, plaintiffs hereby pray for relief from defendants pursuant to Tier 3 as

 follows:

          1.       For general damages in an amount to be determined at trial;

          2.       For special damages in an amount to be determined at trial;

          3.       For interest on special damages as provided by law;

          4.       For all costs incurred herein; and

          5.       For such further relief as the Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs hereby makes a demand for a trial by jury on all issues triable as a matter of

 right by a jury

 DATED this 6th day of August, 2020.

                                                            WRONA LAW



                                                            /s/ Bret M. Hanna       _
                                                            Bret M. Hanna
                                                            Attorneys for Plaintiffs


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 Plaintiffs’ address:

 c/o Bret M. Hanna
 Wrona Law
 1745 Sidewinder Drive
 Park City, Utah 84060




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                        EXHIBIT B




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 hanna@wgdlawfirm.com
 Attorneys for Plaintiffs


                        IN THE THIRD JUDICIAL DISTRICT COURT

                     OF SUMMIT COUNTY, STATE OF UTAH
 ______________________________________________________________________________

  LINDE NEMCICK and WILLIAM
  COTTE, Individuals,
                                                            AMENDED COMPLAINT
                 Plaintiffs,
  v.                                                            RULE 26(c)(3) Tier 3

  SHERATON OPERATING                                            JURY DEMANDED
  CORPORATION and DOES 1–5,
                                                                Civil No. 200500325
                 Defendants.
                                                               Judge Richard Mrazick



        Plaintiffs Linde Nemcick and William Cotte (“plaintiffs”), by and through their counsel of

 record, Bret M. Hanna, Wrona Law, for their causes of action against defendants, allege as follows:

                                                 PARTIES

        1.      Plaintiffs are individuals residing in Allentown, New Jersey.

        2.      Defendant Sheraton Operating Corporation, on information and belief, has its

 principal place of business in Bethesda, Maryland, and on information and belief, is doing
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 business in the State of Utah as the operator of The St. Regis Deer Valley located in Park City,

 Utah.


         3.      Defendant Does 1–5, upon information and belief, are corporations, limited

 liability companies, or dbas involved in the ownership and/or operation of The St. Regis Deer

 Valley located in Park City, Utah.

                                   JURISDICTION, VENUE AND TIER

         4.      This Court has jurisdiction of this action pursuant to Utah Code Ann. §78A-5-

 102, in that the amount in controversy exceeds the sum of $20,000, exclusive of court costs.

         5.      Venue is proper in this Court pursuant to Utah Code Ann. §78B-3-307, in that the

 cause of action arose in this district.

         6.      This action for damages is brought pursuant to Tier 3, Rule 26(c)(3), Utah Rules

 of Civil Procedure.

                                           GENERAL ALLEGATIONS

         7.      At approximately 2:30 p.m. on February 24, 2019, plaintiffs were walking on a

 paved, snow-covered walkway adjacent to an outdoor patio area on the property of The St. Regis

 Deer Valley.

         8.      As plaintiff Linde Nemcick approached a “pedestal floor-style” sign stand

 offering a Moet & Chandon Champagne photo opportunity, she unknowingly stepped on the

 slick, smooth floor plate of the stand and fell, sustaining serious injuries.



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         9.     The polished floor plate that plaintiff Linde Nemcick stepped on was buried in

 wet, melting snow and was not visible to anyone walking in the area.

         10.    As a direct and proximate result of her fall, plaintiff Linde Nemcick sustained a

 fractured left tibia (three places), two fractured left-foot metatarsals, nerve damage in the form of

 the development of a Morton Neuroma in her left foot, two meniscus tears in her left knee, a

 cracked wisdom tooth, a chipped front tooth, and she continues to have a very weak and painful

 left ankle.

         11.    Plaintiffs had to stay in Utah for nine days following plaintiff Linde Nemcick’s

 fall because it took that long for her to stabilize to the point she could travel home.

         12.    Plaintiffs have incurred significant medical bills and related bills as a result of the

 injuries plaintiff Linde Nemcick sustained in her fall at defendant’s property.

         13.    Plaintiff Linde Nemcick also incurred wage losses because of her lack of

 mobility.

                                       FIRST CAUSE OF ACTION

                                       (Negligence – All Defendants)

         14.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

         15.    Defendants owed duties to plaintiff Linde Nemcick and others to properly

 maintain its walkways and displays in such a way that they did not create a hazard to business

 invitees.




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        16.     Defendants breached their duties owed to plaintiffs by, inter alia, failing to

 maintain walkways and displays in a non-hazardous condition and for failing to properly warn

 approaching pedestrians of fall hazards, and failing to promptly take action to remediate said

 hazards.

        17.     As a direct and proximate result of the negligent breach of its duties owed to

 plaintiff Linde Nemcick, defendants caused plaintiff Linde Nemcick to suffer serious injuries

 and losses as described above.

        18.     Plaintiffs’ damages include, but are not limited to, special damages for past and

 future medical care relating to the serious injuries plaintiff and wage losses sustained by plaintiff

 Linde Nemcick, as well general damages arising from those injuries.

                                     SECOND CAUSE OF ACTION

                                  (Loss of Consortium – All Defendants)

        19.     Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

        20.     At all times mentioned herein, plaintiff William Cotte was the lawful spouse of

 plaintiff Linde Nemcick.

        21.     As a direct result of the negligence and other conduct of defendants and the

 resulting injuries to plaintiff Linde Nemcick, plaintiff William Cotte has been deprived of the

 services of his wife by reason of her inability to carry out her usual duties and functions as a

 dutiful and loving spouse.




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          22.      Plaintiffs have suffered a loss of consortium within the meaning of Utah Code

 Ann. § 30-2-11 as a result of the injuries and losses alleged here, and are entitled to recovery of

 damages for loss of consortium as a proximate result of the negligence of defendants as set forth

 above.

                                            PRAYER FOR RELIEF

          WHEREFORE, plaintiffs hereby pray for relief from defendants pursuant to Tier 3 as

 follows:

          1.       For general damages in an amount to be determined at trial;

          2.       For special damages in an amount to be determined at trial;

          3.       For interest on special damages as provided by law;

          4.       For all costs incurred herein; and

          5.       For such further relief as the Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs hereby makes a demand for a trial by jury on all issues triable as a matter of

 right by a jury

 DATED this 31st day of August, 2020.

                                                            WRONA LAW



                                                            /s/ Bret M. Hanna       _
                                                            Bret M. Hanna
                                                            Attorneys for Plaintiffs


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 Plaintiffs’ address:

 c/o Bret M. Hanna
 Wrona Law
 1745 Sidewinder Drive
 Park City, Utah 84060




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                        EXHIBIT C




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 hanna@wgdlawfirm.com
 Attorneys for Plaintiffs
 ______________________________________________________________________________

                       IN THE THIRD JUDICIAL DISTRICT COURT
                         OF SUMMIT COUNTY, STATE OF UTAH



  LINDE NEMCICK and WILLIAM                              ACCEPTANCE OF SERVICE
  COTTE, Individuals,

                 Plaintiffs,                                   Civil No. 200500325
  v.
                                                              Judge Richard Mrazik
  SHERATON OPERATING
  CORPORATION and DOES 1–5,

                 Defendants.


        I, Zachary C. Myers, hereby acknowledge receipt of this Acceptance of Service and the

 Amended Complaint dated August 31, 2020.

        Defendant Sheraton Operating Corporation hereby waives any applicable requirements for

 or defects in the service of the Amended Complaint and submits herself to the jurisdiction of the

 Summit County Court in and for Summit County, State of Utah, for purposes of the Amended

 Complaint.
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       DATED this 8th day of September, 2020.

                                                Christensen & Jensen, P.C.

                                                s/Zachary C. Myers
                                                (signed with permission of counsel)
                                                Nathan D. Alder
                                                Zachary C. Myers




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                        EXHIBIT D




                                      4
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 Sarah Elizabeth Spencer, #11141
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 CHRISTENSEN & JENSEN, P.C.
 257 East 200 South, Suite 1100
 Salt Lake City, Utah 84111
 Telephone: 801-323-5000
 Attorneys for Defendant Sheraton Operating Corporation


                      THIRD JUDICIAL DISTRICT COURT IN AND FOR
                           SUMMIT COUNTY, STATE OF UTAH


 LINDE NEMCICK and WILLIAM COTTE,                   ANSWER TO AMENDED COMPLAINT,
 Individuals,                                         NOTICE OF RELIANCE ON JURY
                                                    DEMAND, AND NOTICE OF INTENT TO
        Plaintiffs,                                 ALLOCATE FAULT TO NON-PARTIES
 v.

 SHERATON OPERATING CORPORATION                                  Civil No. 200500325
 and DOES 1-5,
                                                                Judge Richard Mrazik
        Defendants.


        Defendant Sheraton Operating Corporation (“Defendant” or “Sheraton”), by and through

 undersigned counsel, submits this Answer to Plaintiffs’ Amended Complaint, Notice of Reliance

 on Jury Demand, and Notice of Intent to Allocate Fault to Non-Parties, stating as follows:

                                             PARTIES

        1.      Plaintiffs are individuals residing in Allentown, New Jersey.

        ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 1 and therefore denies the same.
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         2.      Defendant Sheraton Operating Corporation, on information and belief, has its

 principal place of business in Bethesda, Maryland, and on information and belief, is doing

 business in the State of Utah as The St. Regis Deer Valley located in Park City, Utah.

         ANSWER:         Defendant admits that Sheraton Operating Corporation operates The St.

 Regis Deer Valley located in Park City, Utah and that it is headquartered in Bethesda, Maryland,

 and denies the remaining allegations of Paragraph 2.

         3.      Defendant Does 1-5, upon information and belief, are corporations, limited

 liability companies, or dbas involved in the ownership and/or operation of The St. Regis Deer

 Valley located in Park City, Utah.

         ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 3 and therefore denies the same.

                               JURISDICTION, VENUE AND TIER

         4.      This Court has jurisdiction of this action pursuant to Utah Code Ann. §78A-5102,

 in that the amount in controversy exceeds the sum of $20,000, exclusive of court costs.

         ANSWER:         Defendant admits the Court has jurisdiction and that Plaintiffs claim

 entitlement to more than the sum of $20,000.00, exclusive of costs.

         5.      Venue is proper in this Court pursuant to Utah Code Ann §788-3-307, in that the

 cause of action arose in this district.

         ANSWER:         Defendant admits Paragraph 5.

         6.      This action for damages is brought pursuant to Tier 3, Rule 2(c)(3), Utah Rules of

 Civil Procedure.




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         ANSWER:        Defendant admits that Plaintiffs have designated this as a Tier 3 case for

 purposes of calculating discovery, but denies that Plaintiffs are entitled to any damages.

                                    GENERAL ALLEGATIONS

         7.     At approximately 2:30 p.m. on February 24, 2019, plaintiffs were walking on a

 paved, snow-covered walkway adjacent to an outdoor patio area on the property of The St. Regis

 Deer Valley.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 7 and therefore denies the same.

         8.     As plaintiff Linde Nemcick approached a “pedestal floor-style” sign stand

 offering a Moet & Chandon Champagne photo opportunity, she unknowingly stepped on the

 slick, smooth, floor plate of the stand and fell, sustaining serious injuries.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 8 and therefore denies the same.

         9.     The polished floor plate that plaintiff Linde Nemcick stepped on was buried in

 wet, melting snow and was not visible to anyone walking in the area.

         ANSWER:        Defendant denies Paragraph 9.

         10.    As a direct and proximate result of her fall, plaintiff Linde Nemcick sustained a

 fractured left tibia (three places), two fractured left-foot metatarsals, nerve damage in the form of

 the development of a Morton Neuroma in her left foot, two meniscus tears in her left knee, a

 cracked wisdom tooth, a chipped front tooth, and she continues to have a very weak and painful

 left ankle.




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         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 10 and therefore denies the same.

         11.    Plaintiffs had to stay in Utah for nine days following plaintiff Linde Nemcick's

 fall because it took that long for her to stabilize to the point she could travel home.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 11 and therefore denies the same.

         12.    Plaintiffs have incurred significant medical bills and related bills as a result of the

 injuries plaintiff Linde Nemcick sustained in her fall at defendant’s property.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 12 and therefore denies the same.

         13.    Plaintiff Linde Nemcick also incurred wage losses because of her lack of mobility.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 13 and therefore denies the same.

                                   FIRST CAUSE OF ACTION
                                   (Negligence – All Defendants)

         14.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

         ANSWER:        Defendant incorporates by reference as if fully stated herein each of its

 responses to the facts, statements, and allegations contained in Paragraphs 1 through 13 above.

         15.    Defendants owed duties to plaintiff Linde Nemcick and others to properly

 maintain its walkways and displays in such a way that they did not create a hazard to business

 invitees.




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        ANSWER:         Paragraph 15 is a legal conclusion to which no response is required. To

 the extent facts are alleged, Defendant denies the same. Defendant admits only that it owes

 whatever legal duties recognized under applicable law. Defendant affirmatively denies that it

 created the condition which Plaintiffs claim caused their alleged injuries.

        16.     Defendants breached their duties owed to plaintiffs by, inter alia, failing to

 maintain walkways and displays in a non-hazardous condition and for failing to properly warn

 approaching pedestrians of fall hazards, and failing to promptly take action to remediate said

 hazards.

        ANSWER:         Defendant denies Paragraph 16. Defendant affirmatively denies that it

 breached any legal duties owed to Plaintiffs.

        17.     As a direct and proximate result of the negligent breach of its duties owed to

 plaintiff Linde Nemcick, defendants caused plaintiff Linde Nemcick to suffer serious injuries and

 losses as described above.

        ANSWER:         Defendant denies Paragraph 17. Defendant affirmatively denies that it was

 negligent.

        18.     Plaintiffs’ damages include, but are not limited to, special damages for past and

 future medical care relating to the serious injuries plaintiff and wage losses sustained by plaintiff

 Linde Nemcick, as well general damages arising from those injuries.

        ANSWER:         Defendant denies Paragraph 18.

                                 SECOND CAUSE OF ACTION
                               (Loss of Consortium – All Defendants)

        19.     Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.



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          ANSWER:        Defendant incorporates by reference as if fully stated herein each of its

 responses to the facts, statements, and allegations contained in Paragraphs 1 through 18 above.

          20.    At all times mentioned herein, plaintiff William Cotte was the lawful spouse of

 plaintiff Linde Nemcick.

          ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 20 and therefore denies the same.

          21.    As a direct result of the negligence and other conduct of defendants and the

 resulting injuries to plaintiff Linde Nemcick, plaintiff William Cotte has been deprived of the

 services of his wife by reason of her inability to carry out her usual duties and functions as a

 dutiful and loving spouse.

          ANSWER:        Defendant denies Paragraph 21. Defendant affirmatively denies that it was

 negligent.

          22.    Plaintiffs have suffered a loss of consortium within the meaning of Utah Code

 Ann. § 30-2-11 as a result of the injuries and losses alleged here, and are entitled to recovery of

 damages for loss of consortium as a proximate result of the negligence of defendants as set forth

 above.

          ANSWER:        Defendant denies Paragraph 22.

                     RESPONSE TO PLAINTIFFS’ PRAYER FOR RELEIF

          Defendant denies that Plaintiffs are factually, legally, or equitably entitled to any of the

 relief requested in their prayer for relief, and requests that such relief be denied.




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                    DENIAL OF ALL FACTS NOT EXPRESSLY ADMITTED

        Defendant denies every allegation of Plaintiffs’ Amended Complaint not expressly

 admitted herein.

                        DEFENSES AND AFFIRMATIVE DEFENSES

                                        FIRST DEFENSE

        All or part of Plaintiffs’ Amended Complaint fails to state a claim upon which relief

 may be granted.

                                       SECOND DEFENSE

        The acts or omissions complained of may have been proximately caused by conditions

 over which, or by the fault, negligence or intentional acts of presently unknown third parties over

 whom Defendant had no control or right of control. The fault of Plaintiffs and unknown parties

 at fault should be compared based on the percentage of fault attributed to them under the Utah

 Liability Reform Act, UTAH CODE ANN. § 78B-5-820, et seq.

                                        THIRD DEFENSE

        In addition to or in the alternative, Plaintiffs’ Amended Complaint should be dismissed

 because the alleged condition was outside the scope of Defendant’s duty to invitees, because the

 condition was open and obvious.

                                      FOURTH DEFENSE

        Defendant provides notice to all parties pursuant to Utah Code § 78B-5-821 that it may

 seek allocation of fault to all parties who have been named, including John Doe defendants, or in

 the future are named as parties to this lawsuit and to any other unnamed third parties who may




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 have been at fault for Plaintiffs’ damages. The basis for any allocation of fault is on the

 allegations in the Amended Complaint.

                                         FIFTH DEFENSE

        Pursuant to Utah Rule of Civil Procedure 9(l) and Utah Code § 78B-5-821, Defendant

 provides notice that it may seek to allocate fault to the following unnamed third parties.

        1. Moët Hennessy USA, Inc. (“Moet”)
           c/o Christopher J. O’Rourke
           VP & General Counsel, Moët Hennessy USA, Inc.
           +1-914-450-7826

            The basis for the allocation is as follows:
            On information and belief, Moët Hennessy USA, Inc. (“Moet”) was responsible for
            creating the alleged condition that Plaintiff claims caused her accident. Moët owned
            and installed the sign that Plaintiff Linde Nemcick alleges she slipped on. Moët owed
            a duty to take reasonable care when installing the signs. Moët may have breached this
            duty, resulting in Ms. Nemcick’s alleged injuries. If so, fault should be allocated to
            Moët.

        2. Unknown John Does who installed the Moet signs
           Contact Information Unknown

            The basis for the allocation is as follows:
            Certain unknown individuals (Does) installed the sign that Plaintiff Nemcick alleges
            she slipped on and which she claims was a dangerous condition. Does owed a duty to
            take reasonable care when installing the sign. Does may have breached this duty,
            resulting in Ms. Nemcick’s alleged injuries. If so, fault should be allocated to Does.

                                        SIXTH DEFENSE

        Plaintiffs’ recovery from Defendant, if any, is limited to those damages that are both

 reasonable and necessary, and also limited to those that are proximately caused by Defendant.

                                      SEVENTH DEFENSE

        The matters complained of in Plaintiffs’ Amended Complaint were proximately caused

 by parties and/or other individuals or corporations not a party to this action over whom


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 Defendants have no right of supervision or control, including parties/entities yet to be discovered,

 and co-defendants.

                                        EIGHTH DEFENSE

        The incident described in the Amended Complaint was the result of independent,

 intervening, or superseding causes.

                                        NINTH DEFENSE

        Plaintiffs’ claims are barred by one or more of the following: consent, assumption of the

 risk, release, and/or waiver.

                                        TENTH DEFENSE

        Plaintiffs’ claims against Defendant should be dismissed, because Defendant owed no

 duty to Plaintiffs. Upon information and belief, Plaintiffs were not patrons of The St. Regis Deer

 Valley. Defendant does did not own the property where Plaintiff Nemcick claims to have been

 injured.   Defendant did not create the condition that Plaintiffs allege caused their claimed

 injuries. Defendant did not direct or control the work of any person or entity involved in creating

 the alleged hazard.

                                       ELEVENTH DEFENSE

        Plaintiffs are barred from recovery, or any recovery should be reduced, to the extent

 Plaintiffs failed to reasonably mitigate their damages.

                                       TWELFTH DEFENSE

        Defendant had no duty to remedy or warn invitees regarding the alleged condition on

 land, because it did not involve an unreasonable risk of harm.




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                                     THIRTEENTH DEFENSE

        Plaintiffs’ claims should be dismissed because the alleged condition was not known at the

 time of Plaintiffs’ alleged injury, and would not have been discovered by reasonable inspection.

                                    FOURTEENTH DEFENSE

        Plaintiffs’ claims should be dismissed because Plaintiff Nemcick assumed the risk of

 participating in the activity that allegedly injured her. Skiing and walking on snow in ski boots

 inherently puts a person at risk of slipping and falling. Plaintiff Nemcick’s alleged injury was

 within the scope of risks inherent to the activity.

                                      FIFTEENTH DEFENSE

         Plaintiffs’ claims should be dismissed if evidence adduced during discovery shows that

 the allegedly dangerous condition was open and obvious.

                                   RESERVATION TO AMEND

        Defendant reserves the right to amend this answer to include additional affirmative

 defenses.

                                          JURY DEMAND

        Defendant demands a jury and relies on Plaintiffs’ payment of the statutory jury demand

 fee.

                             DEFENDANT’S PRAYER FOR RELIEF

        WHEREFORE, having fully answered Plaintiffs’ Amended Complaint, Defendant prays

 that the same be dismissed with prejudice and that Defendant recover its costs incurred herein,

 and such other and further relief as the Court deems just and equitable.




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         DATED this 29th day of September, 2020.

                                        CHRISTENSEN & JENSEN, P.C.

                                        /s/ Zachary C. Myers
                                        Sarah E. Spencer
                                        Zachary C. Myers
                                        Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of September, 2020, a true and correct copy of the

 foregoing ANSWER TO AMENDED COMPLAINT, NOTICE OF RELIANCE ON JURY

 DEMAND, AND NOTICE OF INTENT TO ALLOCATE FAULT TO NON-PARTIES was

 served via the court’s electronic filing system on the following:

        Bret M. Hanna
        WRONA LAW
        1745 Sidewinder Drive
        Park City, Utah 84060
        hanna@wgdlawfirm.com

                                               /s/ Bengta M. Hoffman




                                                 12
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                         EXHIBIT E




                                      5
Case 2:20-cv-00756-DAK-DBP Document 2-1 Filed 10/30/20 PageID.39 Page 32 of 57




 WRONA LAW
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 Facsimile: (435) 649-5959
 hanna@wdlawfirm.com
 Attorneys for Plaintiffs


                        IN THE THIRD JUDICIAL DISTRICT COURT

                     OF SUMMIT COUNTY, STATE OF UTAH
 ______________________________________________________________________________

   LINDE NEMCICK and WILLIAM
   COTTE, Individuals,
                                                                STIPULATION
                   Plaintiffs,                         TO FILING OF SECOND AMENDED
   v.                                                            COMPLAINT

   SHERATON OPERATING                                             Civil No. 200500325
   CORPORATION, MOËT HENNESSY
   USA, INC., and DOES 1–5,                                       Judge Richard Mrazik

                   Defendants.


        The Parties, by and through their counsel of record and pursuant to Rule 15(a)(2) of the

 Utah Rules of Civil Procedure, hereby stipulate to the filing by Plaintiff of the Second Amended

 Complaint that is hereto attached as Exhibit A. The date of filing of that Second Amended

 Complaint shall be the date of the filing of this Stipulation.

                DATED this 6th day of October, 2020.
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                                               WRONA LAW

                                               /s/ Bret M. Hanna       _
                                               Bret M. Hanna
                                               Attorneys for Plaintiffs

 APPROVED AS TO FORM:

 /s/ Zachary C. Myers
 (Electronically signed with permission)
 Zachary C. Myers
 Attorney for Defendants




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Case 2:20-cv-00756-DAK-DBP Document 2-1 Filed 10/30/20 PageID.41 Page 34 of 57




                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of October, 2020, I caused the foregoing document to

 be delivered via email, upon the following:

                                      Zachary C. Myers
                                 Zachary.Myers@chrisjen.com
                                   Sarah Elizabeth Spencer
                                 Sarah.Spencer@chrisjen.com
                               CHRISTENSEN & JENSEN, P.C.



                                                           /s/ Tarah Patton




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                           Exhibit A
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 hanna@wdlawfirm.com
 Attorneys for Plaintiffs


                        IN THE THIRD JUDICIAL DISTRICT COURT

                     OF SUMMIT COUNTY, STATE OF UTAH
 ______________________________________________________________________________

   LINDE NEMCICK and WILLIAM
   COTTE, Individuals,
                                                       SECOND AMENDED COMPLAINT
                  Plaintiffs,
   v.                                                           RULE 26(c)(3) Tier 3

   SHERATON OPERATING                                           JURY DEMANDED
   CORPORATION, MOËT HENNESSY
   USA, INC., and DOES 1–5,                                      Civil No. 200500325

                  Defendants.                                   Judge Richard Mrazik



        Plaintiffs Linde Nemcick and William Cotte (“plaintiffs”), by and through their counsel of

 record, Bret M. Hanna, Wrona Law, for their causes of action against defendants, allege as follows:

                                                 PARTIES

        1.      Plaintiffs are individuals residing in Allentown, New Jersey.

        2.      Defendant Sheraton Operating Corporation, on information and belief, has its

 principal place of business in Bethesda, Maryland, and on information and belief, is doing
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 business in the State of Utah as the operator of The St. Regis Deer Valley located in Park City,

 Utah.


         3.      Defendant Moët Hennessy USA, Inc., on information and belief has its principal

 place of business in Philadelphia, Pennsylvania, and on information and belief, is doing business

 in the State of Utah as Moët Hennessy, USA, Inc.


         4.      Defendant Does 1–5, upon information and belief, are corporations, limited liability

 companies, or dbas involved in the ownership and/or operation of The St. Regis Deer Valley

 located in Park City, Utah.

                                   JURISDICTION, VENUE AND TIER

         5.      This Court has jurisdiction of this action pursuant to Utah Code Ann. §78A-5-102,

 in that the amount in controversy exceeds the sum of $20,000, exclusive of court costs.

         6.      Venue is proper in this Court pursuant to Utah Code Ann. §78B-3-307, in that the

 cause of action arose in this district.

         7.      This action for damages is brought pursuant to Tier 3, Rule 26(c)(3), Utah Rules of

 Civil Procedure.

                                           GENERAL ALLEGATIONS

         8.      At approximately 2:30 p.m. on February 24, 2019, plaintiffs were walking on a

 paved, snow-covered walkway adjacent to an outdoor patio area on the property of The St. Regis

 Deer Valley.


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         9.      As plaintiff Linde Nemcick approached a “pedestal floor-style” sign stand offering

 a Moët & Chandon Champagne photo opportunity, she unknowingly stepped on the slick, smooth

 floor plate of the stand and fell, sustaining serious injuries.

         10.     The polished floor plate that plaintiff Linde Nemcick stepped on was buried in wet,

 melting snow and was not visible to anyone walking in the area.

         11.     As a direct and proximate result of her fall, plaintiff Linde Nemcick sustained a

 fractured left tibia (three places), two fractured left-foot metatarsals, nerve damage in the form of

 the development of a Morton Neuroma in her left foot, two meniscus tears in her left knee, a

 cracked wisdom tooth, a chipped front tooth, and she continues to have a very weak and painful

 left ankle.

         12.     Plaintiffs had to stay in Utah for nine days following plaintiff Linde Nemcick’s fall

 because it took that long for her to stabilize to the point she could travel home.

         13.     Plaintiffs have incurred significant medical bills and related bills as a result of the

 injuries plaintiff Linde Nemcick sustained in her fall at defendant’s property.

         14.     Plaintiff Linde Nemcick also incurred wage losses because of her lack of mobility.

                                        FIRST CAUSE OF ACTION

                                        (Negligence – All Defendants)

         15.     Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.




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         16.    Defendants owed duties to plaintiff Linde Nemcick and others to properly install

 and maintain its walkways and displays in such a way that they did not create a hazard to business

 invitees.

         17.    Defendants breached their duties owed to plaintiffs by, inter alia, failing to install

 and maintain walkways and displays in a non-hazardous condition and for failing to properly warn

 approaching pedestrians of fall hazards, and failing to promptly take action to remediate said

 hazards.

         18.    As a direct and proximate result of the negligent breach of its duties owed to

 plaintiff Linde Nemcick, defendants caused plaintiff Linde Nemcick to suffer serious injuries and

 losses as described above.

         19.    Plaintiffs’ damages include, but are not limited to, special damages for past and

 future medical care relating to the serious injuries plaintiff and wage losses sustained by plaintiff

 Linde Nemcick, as well general damages arising from those injuries.

                                     SECOND CAUSE OF ACTION

                                  (Loss of Consortium – All Defendants)

         20.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

         21.    At all times mentioned herein, plaintiff William Cotte was the lawful spouse of

 plaintiff Linde Nemcick.

         22.    As a direct result of the negligence and other conduct of defendants and the

 resulting injuries to plaintiff Linde Nemcick, plaintiff William Cotte has been deprived of the


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 services of his wife by reason of her inability to carry out her usual duties and functions as a dutiful

 and loving spouse.

         23.        Plaintiffs have suffered a loss of consortium within the meaning of Utah Code Ann.

 § 30-2-11 as a result of the injuries and losses alleged here, and are entitled to recovery of damages

 for loss of consortium as a proximate result of the negligence of defendants as set forth above.

                                             PRAYER FOR RELIEF

         WHEREFORE, plaintiffs hereby pray for relief from defendants pursuant to Tier 3 as

 follows:

         1.         For general damages in an amount to be determined at trial;

         2.         For special damages in an amount to be determined at trial;

         3.         For interest on special damages as provided by law;

         4.         For all costs incurred herein; and

         5.         For such further relief as the Court deems just and proper.

                                     DEMAND FOR JURY TRIAL

         Plaintiffs hereby makes a demand for a trial by jury on all issues triable as a matter of

 right by a jury.




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 DATED this 6th day of October, 2020.

                                            WRONA LAW



                                            /s/ Bret M. Hanna       _
                                            Bret M. Hanna
                                            Attorneys for Plaintiffs

 Plaintiffs’ address:

 c/o Bret M. Hanna
 Wrona Law
 1745 Sidewinder Drive
 Park City, Utah 84060




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                         EXHIBIT F




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Case 2:20-cv-00756-DAK-DBP Document 2-1 Filed 10/30/20 PageID.53 Page 46 of 57




                        EXHIBIT G




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Case 2:20-cv-00756-DAK-DBP Document 2-1 Filed 10/30/20 PageID.54 Page 47 of 57




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 CHRISTENSEN & JENSEN, P.C.
 257 East 200 South, Suite 1100
 Salt Lake City, Utah 84111
 Telephone: 801-323-5000
 Attorneys for Defendant Sheraton Operating Corporation


                      THIRD JUDICIAL DISTRICT COURT IN AND FOR
                           SUMMIT COUNTY, STATE OF UTAH


 LINDA NEMCICK and WILLIAM COTTE,                      ANSWER TO SECOND AMENDED
 Individuals,                                        COMPLAINT, NOTICE OF RELIANCE
                                                     ON JURY DEMAND, AND NOTICE OF
        Plaintiffs,                                   INTENT TO ALLOCATE FAULT TO
                                                              NON-PARTIES
 v.

 SHERATON OPERATING CORPORATION,
                                                                 Civil No. 200500325
 MOËT HENNESSY USA, INC., and DOES 1-
 5,
                                                                Judge Richard Mrazik
        Defendants.


        Defendant Sheraton Operating Corporation (“Defendant” or “Sheraton”), by and through

 undersigned counsel, submits this Answer to Plaintiffs’ Second Amended Complaint, Notice of

 Reliance on Jury Demand, and Notice of Intent to Allocate Fault to Non-Parties, stating as

 follows:

                                             PARTIES

        1.      Plaintiffs are individuals residing in Allentown, New Jersey.

        ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 1 and therefore denies the same.
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         2.      Defendant Sheraton Operating Corporation, on information and belief, has its

 principal place of business in Bethesda, Maryland, and on information and belief, is doing

 business in the State of Utah as The St. Regis Deer Valley located in Park City, Utah.

         ANSWER:         Defendant admits that Sheraton Operating Corporation is headquartered in

 Bethesda, Maryland and that it operates The St. Regis Deer Valley located in Park City, Utah,

 and denies the remaining allegations of Paragraph 2.

         3.      Defendant Moët Hennessy USA, Inc., on information and belief has its principal

 place of business in Philadelphia, Pennsylvania, and on information and belief, is doing business

 in the State of Utah as Moët Hennessy, USA, Inc.

         ANSWER:         Admit.

         4.      Defendant Does 1-5, upon information and belief, are corporations, limited

 liability companies, or dbas involved in the ownership and/or operation of The St. Regis Deer

 Valley located in Park City, Utah.

         ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 4 and therefore denies the same.

                               JURISDICTION, VENUE AND TIER

         5.      This Court has jurisdiction of this action pursuant to Utah Code Ann. §78A-5102,

 in that the amount in controversy exceeds the sum of $20,000, exclusive of court costs.

         ANSWER:         Defendant admits the Court has jurisdiction and that Plaintiffs claim

 entitlement to more than the sum of $20,000.00, exclusive of costs.

         6.      Venue is proper in this Court pursuant to Utah Code Ann §788-3-307, in that the

 cause of action arose in this district.



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        ANSWER:         Defendant admits Paragraph 6.

        7.      This action for damages is brought pursuant to Tier 3, Rule 2(c)(3), Utah Rules of

 Civil Procedure.

        ANSWER:         Defendant admits that Plaintiffs have designated this as a Tier 3 case for

 purposes of calculating discovery, but denies that Plaintiffs are entitled to any damages.

                                    GENERAL ALLEGATIONS

        8.      At approximately 2:30 p.m. on February 24, 2019, plaintiffs were walking on a

 paved, snow-covered walkway adjacent to an outdoor patio area on the property of The St. Regis

 Deer Valley.

        ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 8 and therefore denies the same.

        9.      As plaintiff Linde Nemcick approached a “pedestal floor-style” sign stand

 offering a Moet & Chandon Champagne photo opportunity, she unknowingly stepped on the

 slick, smooth, floor plate of the stand and fell, sustaining serious injuries.

        ANSWER:         Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 9 and therefore denies the same.

        10.     The polished floor plate that plaintiff Linde Nemcick stepped on was buried in

 wet, melting snow and was not visible to anyone walking in the area.

        ANSWER:         Defendant denies Paragraph 10.

        11.     As a direct and proximate result of her fall, plaintiff Linde Nemcick sustained a

 fractured left tibia (three places), two fractured left-foot metatarsals, nerve damage in the form of

 the development of a Morton Neuroma in her left foot, two meniscus tears in her left knee, a



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 cracked wisdom tooth, a chipped front tooth, and she continues to have a very weak and painful

 left ankle.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 11 and therefore denies the same.

         12.    Plaintiffs had to stay in Utah for nine days following plaintiff Linde Nemcick's

 fall because it took that long for her to stabilize to the point she could travel home.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 12 and therefore denies the same.

         13.    Plaintiffs have incurred significant medical bills and related bills as a result of the

 injuries plaintiff Linde Nemcick sustained in her fall at defendant’s property.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 13 and therefore denies the same.

         14.    Plaintiff Linde Nemcick also incurred wage losses because of her lack of

 mobility.

         ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 14 and therefore denies the same.

                                   FIRST CAUSE OF ACTION
                                   (Negligence – All Defendants)

         15.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

         ANSWER:        Defendant incorporates by reference as if fully stated herein each of its

 responses to the facts, statements, and allegations contained in Paragraphs 1 through 14 above.




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         16.    Defendants owed duties to plaintiff Linde Nemcick and others to properly

 maintain its walkways and displays in such a way that they did not create a hazard to business

 invitees.

         ANSWER:        Paragraph 16 is a legal conclusion to which no response is required. To the

 extent facts are alleged, Defendant denies the same. Defendant admits only that it owes whatever

 legal duties are recognized under applicable law. Defendant affirmatively denies that it created

 the condition which Plaintiffs claim caused their alleged injuries.

         17.    Defendants breached their duties owed to plaintiffs by, inter alia, failing to

 maintain walkways and displays in a non-hazardous condition and for failing to properly warn

 approaching pedestrians of fall hazards, and failing to promptly take action to remediate said

 hazards.

         ANSWER:        Defendant denies Paragraph 17. Defendant affirmatively denies that it

 breached any legal duties owed to Plaintiffs.

         18.    As a direct and proximate result of the negligent breach of its duties owed to

 plaintiff Linde Nemcick, defendants caused plaintiff Linde Nemcick to suffer serious injuries

 and losses as described above.

         ANSWER:        Defendant denies Paragraph 18. Defendant affirmatively denies that it was

 negligent.

         19.    Plaintiffs’ damages include, but are not limited to, special damages for past and

 future medical care relating to the serious injuries plaintiff and wage losses sustained by plaintiff

 Linde Nemcick, as well general damages arising from those injuries.

         ANSWER:        Defendant denies Paragraph 19.



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                                  SECOND CAUSE OF ACTION
                                (Loss of Consortium – All Defendants)

          20.    Plaintiffs hereby incorporate the allegations previously set forth in this Complaint.

          ANSWER:        Defendant incorporates by reference as if fully stated herein each of its

 responses to the facts, statements, and allegations contained in Paragraphs 1 through 19 above.

          21.    At all times mentioned herein, plaintiff William Cotte was the lawful spouse of

 plaintiff Linde Nemcick.

          ANSWER:        Defendant is without knowledge or information sufficient to form a belief

 about the truth of the allegations in Paragraph 21 and therefore denies the same.

          22.    As a direct result of the negligence and other conduct of defendants and the

 resulting injuries to plaintiff Linde Nemcick, plaintiff William Cotte has been deprived of the

 services of his wife by reason of her inability to carry out her usual duties and functions as a

 dutiful and loving spouse.

          ANSWER:        Defendant denies Paragraph 22. Defendant affirmatively denies that it was

 negligent.

          23.    Plaintiffs have suffered a loss of consortium within the meaning of Utah Code

 Ann. § 30-2-11 as a result of the injuries and losses alleged here, and are entitled to recovery of

 damages for loss of consortium as a proximate result of the negligence of defendants as set forth

 above.

          ANSWER:        Defendant denies Paragraph 23.

                     RESPONSE TO PLAINTIFFS’ PRAYER FOR RELEIF

          Defendant denies that Plaintiffs are factually, legally, or equitably entitled to any of the

 relief requested in their prayer for relief, and requests that such relief be denied.


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                    DENIAL OF ALL FACTS NOT EXPRESSLY ADMITTED

        Defendant denies every allegation of Plaintiffs’ Amended Complaint not expressly

 admitted herein.

                        DEFENSES AND AFFIRMATIVE DEFENSES

                                        FIRST DEFENSE

        All or part of Plaintiffs’ Amended Complaint fails to state a claim upon which relief

 may be granted.

                                       SECOND DEFENSE

        The acts or omissions complained of may have been proximately caused by conditions

 over which, or by the fault, negligence or intentional acts of presently unknown third parties over

 whom Defendant had no control or right of control. The fault of Plaintiffs and unknown parties

 at fault should be compared based on the percentage of fault attributed to them under the Utah

 Liability Reform Act, UTAH CODE ANN. § 78B-5-820, et seq.

                                        THIRD DEFENSE

        In addition to or in the alternative, Plaintiffs’ Amended Complaint should be dismissed

 because the alleged condition was outside the scope of Defendant’s duty to invitees, because the

 condition was open and obvious.

                                      FOURTH DEFENSE

        Defendant provides notice to all parties pursuant to Utah Code § 78B-5-821 that it may

 seek allocation of fault to all parties who have been named, including John Doe defendants, or in

 the future are named as parties to this lawsuit and to any other unnamed third parties who may




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 have been at fault for Plaintiffs’ damages. The basis for any allocation of fault is on the

 allegations in the Amended Complaint.

                                        FIFTH DEFENSE

        Pursuant to Utah Rule of Civil Procedure 9(l) and Utah Code § 78B-5-821, Defendant

 provides notice that it may seek to allocate fault to the following unnamed third parties.

        1. Unknown John Does who installed the Moet signs
           Contact Information Unknown

            The basis for the allocation is as follows:
            Certain unknown individuals (Does) installed the sign that Plaintiff Nemcick alleges
            she slipped on and which she claims was a dangerous condition. Does owed a duty to
            take reasonable care when installing the sign. Does may have breached this duty,
            resulting in Ms. Nemcick’s alleged injuries. If so, fault should be allocated to Does.

                                        SIXTH DEFENSE

        Plaintiffs’ recovery from Defendant, if any, is limited to those damages that are both

 reasonable and necessary, and also limited to those that are proximately caused by Defendant.

                                       SEVENTH DEFENSE

        The matters complained of in Plaintiffs’ Amended Complaint were proximately caused

 by parties and/or other individuals or corporations not a party to this action over whom

 Defendants have no right of supervision or control, including parties/entities yet to be

 discovered, and co-defendants.

                                       EIGHTH DEFENSE

        The incident described in the Amended Complaint was the result of independent,

 intervening, or superseding causes.




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                                        NINTH DEFENSE

        Plaintiffs’ claims are barred by one or more of the following: consent, assumption of the

 risk, release, and/or waiver.

                                        TENTH DEFENSE

        Plaintiffs’ claims against Defendant should be dismissed, because Defendant owed no

 duty to Plaintiffs. Upon information and belief, Plaintiffs were not patrons of The St. Regis Deer

 Valley. Defendant does not own the property where Plaintiff Nemcick claims to have been

 injured. Defendant did not create the condition that Plaintiffs allege caused their claimed injuries.

 Defendant did not direct or control the work of any person or entity involved in creating the

 alleged hazard.

                                      ELEVENTH DEFENSE

        Plaintiffs are barred from recovery, or any recovery should be reduced, to the extent

 Plaintiffs failed to reasonably mitigate their damages.

                                      TWELFTH DEFENSE

        Defendant had no duty to remedy or warn invitees regarding the alleged condition on

 land, because it did not involve an unreasonable risk of harm.

                                    THIRTEENTH DEFENSE

        Plaintiffs’ claims should be dismissed because the alleged condition was not known at the

 time of Plaintiffs’ alleged injury, and would not have been discovered by reasonable inspection.

                                    FOURTEENTH DEFENSE

        Plaintiffs’ claims should be dismissed because Plaintiff Nemcick assumed the risk of

 participating in the activity that allegedly injured her. Skiing and walking on snow in ski boots



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 inherently puts a person at risk of slipping and falling. Plaintiff Nemcick’s alleged injury was

 within the scope of risks inherent to the activity.

                                      FIFTEENTH DEFENSE

         Plaintiffs’ claims should be dismissed if evidence adduced during discovery shows that

 the allegedly dangerous condition was open and obvious.

                                   RESERVATION TO AMEND

        Defendant reserves the right to amend this answer to include additional affirmative

 defenses.

                                          JURY DEMAND

        Defendant demands a jury and relies on Plaintiffs’ payment of the statutory jury demand

 fee.

                            DEFENDANT’S PRAYER FOR RELIEF

        WHEREFORE, having fully answered Plaintiffs’ Amended Complaint, Defendant prays

 that the same be dismissed with prejudice and that Defendant recover its costs incurred herein,

 and such other and further relief as the Court deems just and equitable.

        DATED this 20th day of October, 2020.

                                                CHRISTENSEN & JENSEN, P.C.

                                                /s/ Zachary C. Myers
                                                Sarah Elizabeth Spencer
                                                Zachary C. Myers
                                                Attorneys for Defendant




                                                   10
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of October, 2020, a true and correct copy of the

 foregoing ANSWER TO SECOND AMENDED COMPLAINT, NOTICE OF RELIANCE

 ON JURY DEMAND, AND NOTICE OF INTENT TO ALLOCATE FAULT TO NON-

 PARTIES was served via the court’s electronic filing system on the following:

        Bret M. Hanna
        WRONA LAW
        1745 Sidewinder Drive
        Park City, Utah 84060
        hanna@wgdlawfirm.com

                                            /s/ Bengta M. Hoffman




                                               11
